
PER CURIAM.
This petition for writ of habeas corpus seeks belated appeal of an order of the circuit court which denied a petition for writ of mandamus. Because the proceeding below was not a criminal case, Florida Rule of Appellate Procedure 9.141(c) does not apply. However, we acknowledge petitioner’s claim that he did not receive a copy of the circuit court’s order until after the time for initiating an appeal had expired. Accordingly, the petition for writ of habeas corpus is denied without prejudice to petitioner’s right to seek relief in the trial court by motion pursuant to Florida Rule of Civil Procedure 1.540, requesting that the original order be set aside and that a new order be entered, such that the right to seek review may be preserved. See Brown v. State, 708 So.2d 1041 (Fla. 1st DCA 1998); Snelson v. Snelson, 440 So.2d 477 (Fla. 5th DCA 1983).
PETITION DENIED.
BOOTH, BARFIELD and MINER, JJ., concur.
